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September 14, 2022
BY ECF (UNDER SEAL) AND HAND DELIVERY

Honorable Victor Marrero
United States District Judge
United States District Court for the
 Southern District of New York
500 Pearl Street, Suite 1040
New York, NY 10007

Re:        Ramchandani v. Citigroup, Inc., et al., 19-cv-09124 (VM) (SDA)

Dear Judge Marrero:

         We write on behalf of Defendants Citigroup Inc., Citicorp LLC, and Citibank, N.A. (collectively,
“Citi”) to request a pre-motion conference and/or briefing schedule regarding Citi’s motion for summary
judgment, pursuant to Federal Rule of Civil Procedure 56. As Citi’s motion will establish, Plaintiff bears
a “heavy burden” to establish each of the following three requisite elements of a malicious prosecution
claim: (i) fraud, perjury or other misconduct in the Grand Jury necessary to rebut the presumption of
probable cause, (ii) Citi’s “initiation” of the prosecution, or (iii) malice. Plaintiff cannot meet that heavy
burden on any of these elements. Rothstein v. Carriere, 373 F.3d 275, 282-3 (2d Cir. 2004).

        In connection with the decision and order denying dismissal of this case (ECF No. 24), this Court
was constrained to accept as true Plaintiff’s allegations that: (i) Citi made “knowing and material
misstatements to the [DOJ]” (Compl. ¶ 1), (ii) the DOJ “relied upon those misstatements in obtaining the
Indictment of Ramchandani” (id.), and (iii) the DOJ attempted to prove its case against Plaintiff by relying
on Citi’s decoding of Plaintiff’s chats (id. ¶¶ 186-87). The undisputed material facts demonstrate that
these core allegations of Plaintiff’s claim are false or otherwise unsupportable, and that the claim has no
basis under controlling Second Circuit law.

I.         Citi’s Motion Will Show That Summary Judgment is Warranted Because Plaintiff Cannot
           Rebut The Presumption Of Probable Cause Established by The Grand Jury Indictment
       In January 2017, a Southern District of New York Grand Jury indicted Plaintiff, a former Citi trader,
along with two other traders at competing banks, for an alleged conspiracy in the Euro/U.S. Dollar
currency market in violation of the Sherman Act.1 The indictment was based on
                                                  Omitted from the Complaint is the fact that




1
     All evidentiary references shall be fully set forth in Citi’s 56.1 statement pursuant to Local Civil Rule 56.1.
2
              Gardiner, not Citi, decoded the chats at Plaintiff’s criminal trial. Plaintiff’s own trial counsel stated that
Gardiner was the DOJ’s “star witness” who served as the basis for the DOJ’s “entire case.” United States v. Usher
et al., 17 Cr. 19 (RMB) (S.D.N.Y.), Trial Tr., 52:1-6, 2336:2-5.
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        As this Court stated, an “indictment by a grand jury creates a presumption of probable cause” that
can “be rebutted only by evidence that the indictment was procured by fraud, perjury, the suppression of
evidence or other police conduct undertaken in bad faith.” (ECF No. 24 at 24) (citations omitted)
(emphasis added). Second Circuit law is clear that, at summary judgment, the “burden of rebutting the
presumption of probable cause requires the plaintiff to establish what occurred in the grand jury, and to
further establish that those circumstances warrant a finding of misconduct sufficient to erode the premise
that the Grand Jury acts judicially.” Rothstein, 373 F. 3d at 284 (emphasis added) (internal quotation
marks omitted). “[U]nless the plaintiff can demonstrate that the proceedings before the grand jury were
tainted, an indictment extinguishes” the malicious prosecution claim. Id. at 290 (emphasis added); see
also Nunez v. Diedrick, No. 14-CV-4182 (RJS), 2017 WL 2257350, at *7 (S.D.N.Y. May 19, 2017)
(granting summary judgment dismissing the malicious prosecution claim where plaintiff offered no
evidence concerning “the content of [defendant’s] grand jury testimony” and relied on “rank speculation”
regarding the defendant’s involvement in grand jury proceedings), aff'd, 735 F. App’x 756 (2d Cir. 2018).

       Here, Plaintiff admitted at his deposition that he is not claiming fraud or other misconduct in the
Grand Jury, and Plaintiff failed to develop any such Grand Jury evidence. Dismissal of the Complaint
therefore is warranted. Rothstein, 373 F.3d at 283-85.3

        In addition to Plaintiff’s admission and failure, there is no question that
                          .4 The DOJ testified at deposition that




        Accordingly, there are no material facts in dispute by which Plaintiff could rebut the presumption
of probable cause. The Complaint must be dismissed. See, e.g., Kanciper v. Lato, 718 F. App’x 24, 28
(2d Cir. 2017) (affirming summary judgment under Rothstein holding that plaintiff put “forth no evidence
that the grand jury that indicted her was presented with, much less relied upon, evidence that was
wrongfully obtained, misrepresented, or otherwise improper”); Bertuglia v. Schaffler, 672 F. App’x 96,
100 (2d Cir. 2016) (affirming summary judgment under Rothstein holding that “plaintiffs point to no record
evidence that [misleading or fraudulent] statements reached the grand jury”).5



3
  In conceding the absence of fraud, perjury, or other misconduct in the Grand Jury, Plaintiff’s counsel argued to
Magistrate Judge Aaron that he need not make that showing and misconstrued Your Honor’s dismissal decision as
“expressly reject[ing]” the requirement of grand jury irregularity. Plaintiff’s argument flies in the face of established
Second Circuit law requiring proof of fraud, perjury or other misconduct in the Grand Jury. See ECF 74 at 6.
4
  Citi obtained from the Court a Federal Rule of Criminal Procedure 6(e) Order for          Grand Jury testimony
and the DOJ’s testimony about the Grand Jury proceedings. Plaintiff did not ask the DOJ witness a single question
during her deposition.
5
  See also Frederick v. New York City, No. 11 CIV. 469 (JPO), 2012 WL 4947806, at *9 (S.D.N.Y. Oct. 11, 2012)
(“Rothstein sets a high bar for malicious prosecution claims in cases where a grand jury issued an indictment. In
effect, it requires plaintiffs to prove what happened before the grand jury to negate probable cause.”) (emphasis
added); Hill v. Melvin, No. 05 CIV. 6645 (AJP), 2006 WL 1749520 at *15 (S.D.N.Y. June 27, 2006) (granting
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II.         Citi’s Motion Will Show That Citi Did Not Initiate The DOJ’s Prosecution or Act With Malice
         (i) Initiation: While Plaintiff’s failure to rebut the presumption of probable cause alone requires
dismissal, the indisputable evidence will show that Citi did not initiate the criminal proceedings against
Plaintiff by intentionally providing false information to the DOJ (Moreno v. Town of Greenburgh, No. 13
CV 7101 (VB), 2014 WL 3887210, at *4 (S.D.N.Y. June 9, 2014) (dismissing malicious prosecution claim
where plaintiff failed to sufficiently plead defendants’ “knowledge of falsity” of alleged “fraudulent”
statements)) or by playing an “active role in the prosecution, such as giving advice and encouragement
or importuning the authorities to act” (Rothstein, 373 F.3d at 293 (citations omitted and internal quotation
marks omitted)).6 Here, the DOJ testified in its deposition that

                                                         The DOJ also testified, and Plaintiff admitted,

                                         The DOJ further testified that

                              Moreover, at his deposition, Plaintiff could not identify a single intentionally
misleading statement that Citi made to DOJ in interpreting the chatroom communications.8

      (ii) Malice: There is no evidence of malice. To the contrary, the indisputable fact is that, as the
DOJ testified,
                                                     Moreover

            Citi’s counsel also established a joint defense agreement with Plaintiff’s counsel and supplied
Plaintiff’s counsel with arguments, information, and expert analysis both before and after Plaintiff was
indicted. And Citi paid the entirety of Plaintiff’s legal fees, which were in the millions of dollars.
       Accordingly, Defendants respectfully request that the Court schedule a pre-motion conference
and/or set a briefing schedule on Citi’s motion for summary judgment.



summary judgment where plaintiff “ha[d] not supplied the Court with any grand jury testimony” to rebut the
presumption of probable cause), aff’d, 323 F. App’x 61, 62 (2d Cir. 2009) (emphasis in original).
6
  For a civilian defendant (like Citi) to be considered to have initiated a prosecution, the civilian must have overcome
the will of the prosecuting officer “to the point where the officer is not acting of his own volition.” See, e.g., Dantas
v. Citigroup, 779 F. App’x 16, 23 (2d Cir. 2019).
7
      Contrary to the Complaint’s allegations, Plaintiff admitted –

                                                                                                        .
8
    Citi entered into a guilty plea after the DOJ

                     iti entered into the guilty plea on the basis that “[h]ad this case gone to trial, the United States
would have presented evidence sufficient to prove” a conspiracy to coordinate FX trading. United States v. Citicorp,
3:15 Cr. 78 (SRU) (D. Conn.), Plea Agreement, ¶ 4. The conduct charged by the DOJ against Citi and the three
other banks was limited to the Cartel chatroom, in which Plaintiff was the only Citi participant.
9
  Plaintiff’s conduct did violate Citi’s Code of Conduct, his employment agreement, and Citi policies. In a wrongful
dismissal suit Plaintiff brought against Citi, a United Kingdom Employment Tribunal found that Plaintiff had
“committed culpable acts of misconduct in breach of his contract of employment” in his chats and that Plaintiff had
engaged in “foolish, blameworthy behaviour which caused his dismissal.” Answer at 3, 26 (ECF No. 28).
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Respectfully submitted,

/s/ Marshall H. Fishman

Marshall H. Fishman

cc:     All counsel of record (via e-mail)




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